                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )       CASE NO. 3:21-cr-00264
                                               )       CHIEF JUDGE CRENSHAW
BRIAN KELSEY                                   )

                         MOTION TO CONTINUE THE TRIAL DATE

       Comes now Brian Kelsey, by and through counsel of record, and hereby respectfully moves

this Honorable Court to continue the trial date in this case. The trial of this matter is presently set

to begin on Tuesday, January 18, 2021. Mr. Kelsey is moving the court to continue the trial date

to a date to be determined during the status conference that is presently set for Monday, December

20, 2021, at 9:00 a.m.

       As grounds for this motion, counsel for Mr. Kelsey would state and show that the estimated

time for the trial in this case is two weeks. Paul Bruno, counsel for Mr. Kelsey, is scheduled to

begin a quadruple homicide case in Davidson County, Tennessee on January 25, 2021. As such,

he has a significant scheduling conflict with the current trial date in this case.

       Also, the government has provided a significant amount of discovery to this point and has

indicated that additional discovery is forthcoming. Due to the volume of discovery in this case,

Mr. Kelsey and counsel for Mr. Kelsey do not believe they can review the discovery and be

properly prepared for trial by January 18, 2021.

       The government does not oppose this motion.

       Based upon the foregoing, Mr. Kelsey moves the Court to continue the trial date that is

currently set for January 18, 2022, to a date to be determined during the status conference that is

presently set for Monday, December 20, 2021, at 9:00 a.m. Mr. Kelsey also moves the Court to
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set a new status conference date, a new pretrial conference date, a pretrial motion filing deadline,

and a pretrial motion hearing date.

                                                     Respectfully submitted,


                                                     s/ Paul Bruno
                                                     Paul Bruno, B.P.R. #17275
                                                     Bulloch, Fly, Hornsby & Evans PLLC
                                                     302 North Spring Street
                                                     P.O. Box 398
                                                     Murfreesboro, Tennessee 37133-0398
                                                     (615) 896-4154
                                                     pauljbruno@bfhelaw.com


                                                     s/ Jerry Martin
                                                     Jerry Martin, B.P.R. #20193
                                                     Barrett, Johnston, Martin & Garrison, LLC
                                                     414 Union Street, Suite 900
                                                     Nashville, TN 37219
                                                     (615) 244-2202
                                                     jmartin@barrettjohnston.com


                                                     s/ David Rivera
                                                     David Rivera, B.P.R. #24033
                                                     Barrett, Johnston, Martin & Garrison, LLC
                                                     414 Union Street, Suite 900
                                                     Nashville, TN 37219
                                                     (615) 244-2202
                                                     drivera@barrettjohnston.com




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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and exact copy of the foregoing Motion To Continue The Trial
Date has been electronically delivered to Amanda Klopf, Assistant United States Attorney, 110
Ninth Avenue, South, Suite A961, Nashville, TN 37203-3870; David Pritchard, Assistant United
States Attorney, 167 North Main Street, Suite 800, Memphis, TN 38103; and John P. Taddei, U.S.
Department of Justice, 1301 New York Ave. NW, Washington, DC 20530; this the 10th day of
December, 2021.

                                                    s/ Paul Bruno
                                                    Paul Bruno




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